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UNITED S'I`ATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

BROIDY CAPITAL MANAGEMENT
LLC and ELLIO'I`T BROlDY,

Plaintiffs,

V.

sTATE 01= QATAR, sToNlNGToN
sTRATEGIES LLC, NICOLAS D.
MUZIN, GLOBAL RISK ADVISORS
LLC, I<EVIN CHALKER, mer
MARK PowELL, MOHAMMED BIN
HAMAD BrN KHALIFA AL THANI,
AHMED AL_RUMAIHI, and DOES 1-
10,

Defendants.

Case No. 18-cv-02421-JFW

DECLARATION OF DOUGLASS A.
MITCHELL RE F]LING DOCI{ET
ENTRY 126

 

 

 

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Case No. 18-cv-02421~]FW
DECLARATION OF GAVTN McGRANE

 

 

 

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I, Douglass A. Mitchell, hereby declare as follows:

1. I am a Partner in the law firm of Boies Schiller Flexner LLP (“BSF”). I
am involved in the firm’s representation of Plaintitfs in this action.

The Inadvertent Misf'lling of Exhibits Containing Cont'ldential Information

2. On July 6, 201 8, I worked with Adelina Landeros, a legal assistant in the
Los Angeles Off'ice of BSF to file two documents: (l) Plaintiffs’ Application for
Leave to File under Seal Certain Exhibits and References Thereto in Opposition to
State of Qatar Motion to Dismiss (“Application”); and (2) Declaration of Lee S.
Wolosky in Support of Plaintiffs’ Application for Leave to File under Seal Certain
Exhibits and References Thereto in Opposition to State of Qatar’s Motion to Dismiss
(“Declaration”).

3. The Application and Declaration sought the Court’s permission to tile
under seal three exhibits (“Confidential Exhibits”) Plaintiffs intended to submit in
support of their Opposition to Defendant State of Qatar’s Motion to Disrniss pursuant
to Rule lZ(b)(l) (“Opposition”). Plaintifl`s’ Opposition was, at the time, due to be
filed on July 9, 2018.

4. The Contidential Exhibits contained documents produced from, and
testimony given by, non-party Joseph Allaham in response to subpoenas served on
him in New Yorl<. On ]une ll, 2018, Judge Kathen`ne B. Forrest of the Southern
District of New York provisionally designated all information provided by non-party
Joseph Allaham as confidential and Attorney Eyes Only in Broidy Capital
Management et ano. v. Allaham, No. lS-mc-00240-KBF (S.D.N.Y.) (“SDNY
Proceedings”) “until such time as Judge John F. Walter has an opportunity to rule on a

more permanent protective order in the underlying action.”

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" 5. Bef`ore starting the process of filing the Application, Declaration, and
Confidential Exhibits, Ms. Landeros and I discussed why Plaintif‘f`s Were filing the
documents and that the Confidential Exhibits contained information Plaintiffs were
required to file under seal.

6. Ms. Landeros and I also reviewed (a) Local Rule 79-5, relating to filing
documents under seal; (b) Paragraph 9 of the Court’s March 27, 2018 Standing Order
(ECF No. 17), relating to filing documents under seal; and (c) the district court’s
Guide to Electronically Filing Under Seal Documents in Civil Cases (“Sealed Filing
Guide”).

7. After reviewing the applicable rules, Ms. landeros and I Walked through
the steps outlined on pages 5-14 of the Sealed Filing Guide. We discussed among
other things:

a. using the “Under Sealed Filing Events” menu item on the district’s

ECF filing system to initiate the two-step process for filing applications for

leave to file documents under seal;

b. the requirement to file the Application and the Declaration as two
separate docketing events;
c. using the “Leave to File Docurnent Under Seal” event to file the

Application, and the exhibits attached to it;

d. the fact that the Application, and any exhibits attached to it, would
be publicly available on PACER;
e. using the “Sealed Docurnent in Support” event to file the
)j Declaration, and the Confidential Exhibits that Would be attached to it;

f. the fact that the Declaration, and the Confidential Exhibits vvould

be sealed and not publicly available on PACER.

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8. I identified the four specific exhibits that were to be filed as attachments
to the Application and we discussed that those four exhibits could be publicly filed

because they did notl contain confidential information

9. l identified the three specific exhibits that were the Confidential Exhibits
and explained that they needed to be filed as attachments to the Declaration because
they contained confidential information that Plaintiffs were required to file under seal.

10. As a result of our discussions, l believe Ms. Landeros understood the

process for filing applications for leave to seal documents in the Central District of

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Calif`ornia. I also knew Ms. Landeros had a copy of the Sealed Filing Guide and

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would be able to follow the steps outlined in it as she filed the Application and the

Declaration.

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ll. Ms. Landeros then proceeded to file the Application and the Declaration.

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12. At approximately 3 :52 pm Pacific Time, I received an email forwarding

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the ECF Notice notifying the parties that the Application had been filed as Docket

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Entry 125. Afier reviewing the ECF Notice for the Application, l continued that (a)

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the notice indicated that the filing event was “Application”; (b) the correct exhibits
17 " had been filed as attachments to the Application; and (c) the Application and its

l8 attachments were publicly available

19 13. At approximately 3:5'7 pm Pacific Time, l received an email forwarding
20 the ECF Notice notifying the parties that the Declaration had been filed as Docket

21 Entry 126. Upon reviewing the ECF Notice, l saw that (a) the notice indicated the

22 filing event was “Application” even though the description of the document indicated
23 it was the Declaration; (b) the Confidential Exhibits had been filed as attachments to
24 the Declaration; and (c) the Declaration and Confidential Exhibits were publicly

25 available

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14. Within approximately one minute of receiving the ECF Notice relating to
the Declaration, l called Ms. Landeros and explained the Declaration appeared to have
been misfiled and that the Confidential Exhibits were public. Ms. Landeros
recognized the mistake I then asked her to contact Judge Walter’s courtroom deputy
immediately, explain that the documents filed with Docket Entry 126 contained
confidential information that Plaintiffs intended to file under seal, and ask her to either
remove or seal Docket Entry 126.

15. Ms. Landeros hung up and began contacting the Court.

16. Approximately fifty minutes later, I received an email forwarding an
ECF Notice notifying the parties that the Court had sealed Docket Entry 126 at 4:45
pm PDT (ECF No. 128).

17. After receiving the ECF Notice, I verified that Docket Entry 126 was no
longer publicly available on PACER.

Ef’l`orts to Verify the Confidential Exhibits Were Not in the Possession of
Anyone Other Than Individuals Al`filiated with Law Firms of Record in
This Case or the SDNY Proceedings

18. On July 6, 2018, at approximately 7:31 p.m. Pacific Time, counsel for
Qatar notified Plaintiffs’ counsel that, before the Court entered its sealing order, the
Confidential Exhibits had been disseminated via at least one third-party PACER
lt:racking service.
l 19. On July 7, 2018, I undertook to identify third-party PACER tracking
services (“PACER Tracking Services”) so that I could contact them to verify Whether
jany of their users (other than individuals who are members of law firms of record in
this matter or the SDNY Proceeding) had been notified of, dovvnloaded7 or viewed the
Confidential Exhibits that was briefly available as Docket Entry 126.

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20. ln the event any users of the PACER Tracking Services had viewed or
downloaded the Confidential lnforrnation, I was prepared to work with them to notify
those users that the Confidential Exhibits had been sealed by the Court and to obtain
assurances that such users destroyed all copies of the Confidential Exhibits in their
"possession.

21. Since July 7, 2018, l have communicated with the following PACER
Tracking Services and received the following reports from them:

a. PacerPro: On Saturday, July 7, 2018, PacerPro informed me that,
upon receipt of my email, it deleted Docket Entry 126, including the
Confidential Exhibits, from its system. Therefore, as of July 7, 2018, Docket
Entry 126 was not on, or accessible from, PacerPro’s system. PacerPro also
searched its records and determined that, other than lawyers who have made

formal appearances in the case, notices containing copies of the exhibits Were

 

 

sent to only one law firm. Although PacerPro would not disclose the name of
the law firm, it did email a notice to all recipients from that firm informing
them that Docket Entry 126 had been sealed by court order and that all copies
needed to be destroyed PacerPro then followed up with the firm and conformed
that Docket Entry 126, including the Confidential Exhibits, had been destroyed
b. LexisNexis: LexisNexis provides two PACER Tracking Services,
LexisNexis Advance and CourtLinl<. On Saturday, July 7, 2018, I spoke with
LexisNexis about both services
" i. LexisNexis Advance: On Saturday, July 7, 2018, LexisNexis
confirmed that users of its LexisNexis Advance PACER Tracking
Service could see the text of Docket Entry 126. However, it also
confirmed that users could not access Docket Entry 126 and that they
" could neither view nor download the Confidential Exhibits. The

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telephone and received additional information by email on Tuesday, luly 10,
2013. Westlaw confirmed that the text of Docket Entry 126 was visible on its
system on Friday, July 6, 2018. Westlaw confirmed that Docket Entry 126

representative also told me that LexisNexis Advance updated its docket
sheets from PACER once a day. After LexisNexis Advance updated the
case docket sheet from PACER, the text of Docket Entry 126 was no
longer visible to LexisNexis Advance users. On July 13, 2018,
LexisNexis Advance confirmed that (a) Docket Entry 126 had never been
downloaded to its system, (b) no LexisNexis Advance users received
tracking notices informing them that Docket Entry 126 had been filed,
and (c) no users had accessed Docket Entry 126, including the
Confidential Exhibits, using the LexisNexis Advance system.

ii. CourtLink: On July 7, 2018, LexisNexis searched its
CourtLink database and confirmed that Docket Entry 126 does not appear
on CourtLink and that neither it nor the Confidential Exhibits could be be
accessed from CourtLink. On July 13, 2018, after searching its records,
LexisNexis further reported that for a period of time on July 6, 2018, the
text of Docket Entry 126 was visible to CourtLink subscribers lt also
reported that one subscriber received a tracking notice informing the
subscriber that Docket Entry 126 had been filed. However, LexisNexis
confirmed that Docket Entry 126 and the Confidential Exhibits had
never been downloaded to its CourtLink system. It also confirmed that
no one, including the one user who had received a tracking notice, had
used CourtLink to access either Docket Entry 126 or the Confidential
Exhibits.

c. Westlaw: On Saturday, July 7, 2018, I spoke with Westlaw by

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DECLARATION OF DOUGLASS MITCHELL

 

 

 

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ceased to appear on its system after the company refreshed the PACER docket
for the case on Saturday, July 7, 2018. Westlaw also confirmed that no one
used its system to access Docket 126 during the time it was visible on its
system.

d. Bloomberg Law: On Saturday, July 7, 2018, l spoke with
Bloomberg Law by telephone Bloomberg Law continued that Docket Entry

 

126 does is not on its system and that the Confidential Exhibits cannot be
viewed or accessed from it. Bloomberg Law also confirmed that it does not
attach documents downloaded from PACER to notices sent to users who are
following cases. Therefore, Bloomberg Law confirmed that it did not send the
Confidential Exhibits to any of its users. On July 13, 2018, after searching its
records, Bloomberg Law further confirmed that the text of Docket Entry 126
never appeared on its tracking service and that, as a consequence, no
Bloomberg Law users received notifications that it had been filed. Bloomberg
Law also confirmed that neither Docket Entry 126 nor the Confidential Exhibits
had ever been downloaded to its system or accessed by any user of its system

e. hilti_a: On Saturday, July 7, 2018, l checked the Justia PACER
Tracking Service website. Justia seems to display only the text of the docket
entries for this case and reports that the “docket was last retrieved on March 27,
2018.” Docket entries from July 6, 2018 are not visible en Justia.

f`. PacerMonitor: PacerMonitor does not appear to have weekend
telephone support Therefore, on Saturday, July 7, 2018, l sent an email
informing it that the court had sealed Docket Entry 126, provided it with a copy
of the Court's sealing order, Docket Entry 128, and asked it to provide me with
information concerning users who may have received notices about the filing of
Docket Entry 126 or copies of the Confidential Exhibits. On Monday, July 9,

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2018, PacerMonitor continued that Docket Entry 126 and the Confidential
Exhibits were not downloaded to its system and that none of its users viewed or
downioaded Docket Entry 126 from its system.

g. M_t_bir_d: Docketbird does not appear to have weekend
telephone support Theref`ore, on Sunday, ]uly 8, 2018, l sent an email
informing it that the court had sealed Docket Entry 126, provided it with a copy
of the Court’s sealing order, Docket Entry 128, and asked it to provide me with
information concerning users who may have received notices about the filing of
Docket Entry 126 or copies of the Confidential Exhibits. On Sunday, July 8,
2018, Docketbird confn'rned that it never downloaded Docket Entry 126 and
that no DocketBird users are following the Broidy v Qatar case. I understood
this to mean that no notices were sent to DocketB ird users informing them that
Docket Entry 126 was filed with the court

h. DocketAlarm: DocketAlarm does not appear to have weekend
telephone support Therefore, on Saturday, July '7, l sent an email informing it
that the court had sealed Docket Entry 126, provided it with a copy of the
Court’s sealing order, Docket Entry 128, and asked it to provide me with
information concerning users who may have received notices about the filing of
Docket Entry 126 or copies of the Confidential Exhibits. On Monday, July 9,
2018, DocketAiartn confirmed that it never downloaded Docket Entry 126 and
further confirmed that Docket Entry 126 does not appear on the docket sheet on
its system. DocketAlarrn indicated that it probably did not download the docket
sheet from PACER until after Docket Entry 126 had been removed by the court.
DocketAlann further confirmed that none of its users received a notice relating

the case.

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i. MD_ri\)§: CourtDrive does not appear to have weekend
telephone support. 'l`berefore, I left it a voicemail and also sent them a message
through their web-based messaging system informing them that the court had
sealed Docket Entry 126 and asked it to provide me with information
concerning users who may have received notices about the filing of Docket
Entry 126 or copies of the Confidential Exhibits. On Monday, July 9, 2018
CourtDrive confirmed that it never downloaded Docket Entry 126 to its system
and that the Confidential Exhibits are not on its systems. CourtDrive further
conf`n'med that none of its users received a notice relating to Docket Entry 126.

j. PacerDash: PacerDash does not appear to have weekend telephone
support. Theref`ore, on Monday, July 9, 2018, 1 sent an email informing it that
the court had sealed Docket Entry 126, provided it with a copy of the Court's
sealing order, Docket Entry 128, and asked it to provide me with information
concerning users who may have received notices about the filing of` Docket
Entry 126 or copies of the Confidential Exhibits. On Wednesday, July 11,
PacerDash confirmed that neither it nor any of its users downloaded Docket
Entry 126 or any other document relating to Broidy v. Qatar. It a1so confirmed
that none of its users are tracking the case, which 1 understand to mean that
none of PacerDash’s users received any notifications concerning Docket Entry
126,

k. CourtAlert: CourtAlert does not appear to have weekend telephone
support Therefore, on Sunday, July 8, 2018, I sent an email informing it that
the court had sealed Docket Entry 126, provided it with a copy of the Court's
sealing order, Docket Entry 128, and asked it to provide me with information
concerning users who may have received notices about the filing of Docket

Entry 126 or copies of the Confidential Exhibits. On Monday, .Iuly 9, 20181

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Cour'tAlert confirmed that neither the text of Docket Entry 126 nor the
Confidential Exhibits were downloaded to its systems. On Wednesday, July 11,
2018, CourtAlert conformed that none of its users viewed or downloaded

Docket Entry 126 or the Confidential Exhibits.

l declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct

Dated: July 13, 2018 By:

 

Douglass A. Mitchell
Counselfor Plairztijj@

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DECLARATlON OF DOUGLASS MFTCHELL

 

